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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                     Case No.: 18cv0428 DMS (MDD)
12                           Petitioners-Plaintiffs,
                                                           ORDER FOLLOWING STATUS
13     v.                                                  CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
15
                         Respondents-Defendants.
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18           A status conference was held on August 21, 2020. After consulting with counsel
19     and being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.    A further status conference shall be held on October 16, 2020, at 11:30 a.m. The
21     dial-in number for any counsel who wish to listen in only and members of the news media
22     is as follows.
23           a.     Dial the toll free number: 877-411-9748;
24           b.     Enter the Access Code: 6246317 (Participants will be put on hold until the
25                  Court activates the conference call);
26           c.     Enter the Participant Security Code 10160428 and Press # (The security code
27                  will be confirmed);
28           d.     Once the Security Code is confirmed, participants will be prompted to Press

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                                                                               18cv0428 DMS (MDD)
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 1                    1 to join the conference or Press 2 to re-enter the Security Code.
 2     Members of the general public may attend in person. All persons dialing in to the
 3     conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
 4     proceedings.
 5     2.    The next Joint Status Report shall be filed on or before 3:00 p.m. on October 14,
 6     2020. As part of their submission, Defendants shall provide a supplemental declaration
 7     from Mr. Costello on the progress of the UIP.
 8     Dated: August 21, 2020
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